     Case 6:18-cr-00014-JRH-BKE Document 30 Filed 09/17/18 Page 1 of 1
                  IN THE UNITED STATES DISTRICT COURT


                 FOR THE SOUTHERN DISTRICT OF GEORGIA


                          STATESBORO DIVISION


UNITED STATES OF AMERICA                                                   .W)
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V.                                            6:18CR14
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                    ORDER DESIGNATING INTERPRETER


     The Court having determined, pursuant to Title 28, United

States Code Section 1827, that an interpreter is required and

should be designated in the above-captioned case,

     IT IS ORDERED, that WILFRIDO CHAVEZ, a certified or

otherwise competent interpreter, is designated to serve as

interpreter in this case.      Compensation shall be paid by the

government at the rate of $202.00 per day, with a minimum of one-

half day's compensation of $111.00 to be paid for each

appearance.


           Any claim for overtime shall be paid at the rate of

$35.00 per hour.    Claim for compensation by the interpreter for

any in-court services or assisting the U. S. Probation Office

shall be made on Form A. 0. 322.       Claim for compensation for

assisting court-appointed counsel, other than in-court

proceedings and assisting the U. S. Probation Office, shall be

made on CJA Form 21, Authorization and Voucher for Expert and

Other Services.    Any services relating to the CJA Form 21 must be

approved by the Court prior to services being rendered.           These

forms shall be furnished by the Clerk of Court.

     SO ORDERED, this /7^dav of September, 2018.

                                  UNITED- STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
